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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


                         Case No.     20-60109-CR-Smith/Valle
                                    -------------
                                     21 U.S.C. § 331(a)
                                       21 U.S.C. § 333(a)(l) and (a)(2)
                                       21 u.s.c. § 334
                                       18 u.s.c. § 2

 UNITED STATES OF AMERICA,                                       FILED BY /Jc {
                                                                                                 D.C.
 vs.
                                                                          OCT 07 2020
 DERMA LASER CENTER, LLC, and                                           ANGELA E. NOBLE
 NADER HAROUN SHEHATA,                                                 CLERK U.S. DISt ct
                                                                       S.D. OF FLA. -   w:P.a:
                Defendants.
 - - - - - - -- -- - - - -I

                                         INFORMATION

        The United States Attorney charges that:

                                  GENERAL ALLEGATIONS

        At all times relevant to this Information:

        1.      NADER HAROUN SHEHATA ("SHEHATA"), a resident of Miami-Dade

 County, Florida, was a medical doctor licensed to practice medicine by the Florida Board of

 Medicine.

        2.      DERMA LASER CENTER, LLC was a Florida limited liability company

 engaged in the business of cosmetic dermatology. DERMA LASER CENTER, LLC maintained

 offices in Hallandale Beach and Jupiter, Florida. SHERATA was a manager and registered agent

 of DERMA LASER CENTER, LLC.

        3.      The Food and Drug Administration (FDA) was the federal agency charged with the

 responsibility of protecting the health and safety of the American public by enforcing the Federal

 Food, Drug, and Cosmetic Act (FDCA). Among other responsibilities, the FDA enforced laws
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 and regulations intended to ensure that drugs and devices were safe and effective for their intended

 uses and bore labeling that contained true and acc urate information and had adequate directions

 for use.

            4.   Whether a product was a "drug" under the FDCA depended on its intended use.

 2 1 U.S.C. § 321(g)(l). " [A]rticles intended for use in the diagnosis, cure, mitigation, treatment,

 or prevention of disease" were drugs within the meaning of the FDCA, 21 U.S.C. § 321(g)(l)(B),

 as were "articles (other than food) intended to affect the structure or any function of the body," 21

 U.S.C. § 32 1(g)(l)(C).

            5.   The "intended use" of a drug meant the objective intent of the persons legally

 responsible for labeling of that drug. The intent was determined by such person' s expressions, the

 circumstances surrounding the distribution of the atiicle, labeling claims, advertising matter, or

 oral or written statements by such persons or their representatives . 21 C.F.R. § 20 1.1 28.

            6.   The FDCA defined "labeling" as "all labels and other written, printed, or graphic

 matter (1) upon any article or any of its containers or wrappers, or (2) accompanying such article,"

 21 U.S.C. § 321(m), and "label" as "a display of written, printed, or graphic matter upon the

 immediate container of any article," 21 U.S.C. § 32 1(k).

            7.   Under the FDCA, a "prescription drug" was any drug intended for use in humans

 that, because of its toxicity or other potentiality for harmful effect, or the method of its use, or the

 collateral measures necessai·y for its use, was not safe for use except under the supervision of a

 practitioner licensed by law to administer such drug; or was limited by an approved application

 under section 2 1 U .S.C. § 355 for use under the professional supervision of a practitioner licensed

 by law to administer such drug. 2 1 U.S.C. § 353(b)(l).

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        8.      A drug was considered misbranded if any word, statement, or other information

 required by or under the authority of the FDCA to appear on the label or labeling was not

 prominently placed thereon with such conspicuousness and in such terms as to render it likely to

 be read and understood by the ordinary individual under customary conditions of purchase and

 use. 21 U.S .C. § 352(c). In order for a label or labeling to be likely to be read and understood, all

 words, statements, and other information required by or under the authority of the FDCA shall

 appear on the label or labeling in the English language. 21 C.F.R. § 201.15(c)(l).

        9.      Under the FDCA, a drug was also deemed misbranded if it was a prescription drug,

 and its label failed to bear the symbol " Rx only" at any time prior to dispensing. 21 U.S.C.

 § 353(b)(4)(A).

        10.     Additionally, a drug was misbranded under the FDCA if its labeling was false or

 misleading in any particular. 21 U.S.C. § 352(a)(l).

        11.     The FDCA defined a device, in relevant part, as an instrument, apparatus,

 implement, machine, contrivance, implant, in vitro reagent, or other similar or related article,

 including any component, part, or accessory, which was intended for use in the diagnosis of disease

 or other conditions, or in the cure, mitigation, treatment, or prevention of disease, in man or other

 animals, or intended to affect the structure or function of the body of man or other animals, and

 which did not achieve its primary intended purposes through chemical action within or on the body

 of man or other animals and which was not dependent upon being metabolized for the achievement

 of its primary intended purposes. 21 U.S.C. § 321(h).

        12.     Devices were classified into one of three categories, Class I (lowest risk), Class II

 (moderate risk), or Class III (highest risk). 21 U.S.C. § 360c. A device's class determined the

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 type of regulatory controls to which it was subject and any process it must go through prior to

 marketing. Pursuant to the FDCA, any device that was not in commercial distribution before May

 28, 1976 was initially classified as a Class III device unless shown to be substantially equivalent

 to a legally marketed device. 21 U.S.C. § 360c(f)(l).

         13.    A device classified as Class III was required to have an FDA approved application

 for pre-market approval ("PMA") before the device could be distributed in interstate

 commerce. 21 U.S .C. § 360e(a)(2).

         14.    A device was adulterated if, among other things, it was a Class III device pursuant

 to 21 U.S.C. § 360c(f), and was required under 21 U.S .C. § 360e(a) to have in effect an approved

 PMA, and did not have such an approval in effect. 21 U.S .C. § 35 1(±).

         15.    The FDCA defined a "prescription device" as " [a] device which, because of any

 potentiality for harmful effect, or the method of its use, or the collateral measures necessary to its

 use was not safe except under the supervision of a practitioner licensed by law to direct the use of

 such device . . .. " 21 C.F.R. § 801.109.

         16.    Under the FDCA, a device was deemed misbranded for failure to bear adequate

 directions for use if it was a prescription device and the label of the device failed to bear the symbol

 statement "Rx only" or " • only" or the statement "Caution: Federal law restricts this device to

 sale by or on the order of a _     ", the blank to be fi lled with the word "physician," "dentist,"

 "veterinarian," or with the descriptive designation of any other practitioner licensed by the law of

 the State in which the practitioner practices to use or order the use of the device. 21 U.S.C.

 § 352(±)(1), 21 C.F.R. § 801.109(6).



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         17.     Botox® and Dysport were prescription drugs under the FDCA. Cute gel Max and

 HyalDew hyaluronic acid were Class III prescription devices under the FDCA.

                                             COUNTl
         18.     Beginning no later than in or about September 201 7 and continuing through on or

 about July 19, 2019, in Broward County, in the Southern District of Florida, and elsewhere, the

 defendant,

                                  DERMA LASER CENTER, LLC.,

 did, with intent to defraud and mislead, cause the introduction and delivery for introduction into

 interstate commerce of misbranded prescription drugs, including Botox® and a product labeled as

 Dysport, and adulterated and misbranded prescription devices, including Cutegel Max and

 HyalDew hyaluronic acid, in that, the label and labeling of the Botox® did not contain in the

 English language all words, statements, and other information required by or under the authority

 of the FDCA; the labeling of the Dysport was false and misleading, that is, the labeling stated that

 the product contained Clostridium Botulinum Type A, but testing showed that Clostridium

 Botulinum Type A was not present in the product; the labels of the prescription drugs Botox® and

 Dysport did not bear "Rx Only;" the Cutegel Max and HyalDew hyaluronic acid did not have an

 approved PMA in effect; and the labels of the prescription devices Cutegel Max and HyalDew

 hyaluronic acid did not bear " Rx only" and " • only" and the statement "Caution: Federal law

 restricts this device to sale by or on the order of a .. .", in violation of Title 21 , United States Code,

 Sections 331(a) and 333(a)(2).




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                                              COUNT2

          19.    Beginning no later than in or about September 201 7 and continuing through on or

 about July 19, 2019, in Broward County, in the Southern District of Florida, and elsewhere, the

 defendant,

                                  NADER HAROUN SHEHATA,

 did cause the introduction and delivery for introduction into interstate commerce of misbranded

 prescription drugs, including Botox® and a product labeled as Dysport, and adulterated and

 misbranded prescription devices, including Cutegel Max and HyalDew hyaluronic acid, in that,

 the label and labeling of the Botox® did not contain in the English language all words, statements,

 and other information required by or under the authority of the FDCA; the label and labeling of

 the Dysport was false and misleading, that is, it stated that the product contained Clostridium

 Botulinum Type A, but testing showed that Clostridium Botulinum Type A was not present in the

 product; the labels of the prescription drugs Botox® and Dysport did not bear "Rx Only;" the

 Cutegel Max and HyalDew hyaluronic acid did not have an approved PMA in effect; and the labels

 of the prescription devices Cute gel Max and HyalDew hyaluronic acid did not bear "Rx only" and

 "•   only" and the statement "Caution: Federal law restricts this device to sale by or on the order of

 a ... ", in violation of Title 21 , United States Code, Sections 33 l(a) and 333(a)(l).

                                  FORFEITURE ALLEGATIONS

          20.     The allegations contained in this Information are hereby re-alleged and

 incorporated herein by reference for alleging criminal forfeiture to the United States of America

 of certain prope1iy in which the defendants, DERMA LASER CENTER, LLC and NADER

 HAROUN SHEHATA, have an interest.

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        21.     Upon conviction of a violation of Title 21, United States Code, Section 33l(a)

 and/or Section 333(a)(l), as alleged in this Information, the defendant so convicted shall forfeit

 to the United States of America, the following property:

                (a)     Pursuant to Title 21 , United States Code, Section 334(a)(2):

                        (1)    Any drug that is a counterfeit drug;

                        (2)    Any container of a counterfeit drug; and

                        (3)    Any punch, die, plate, stone, labeling, container, or other thing used

 or designed for use in making a counterfeit drug or drugs; and

                        (4)    Any adulterated or misbranded device.

                (b)     Pursuant to Title I 8, United States Code, Section 981(a)(l)(C):

                        (1)    Any property, real or personal, which constitutes or is derived from

 proceeds traceable to such violation.

        All pursuant to Title 21, United States Code, Section 334(a)(2), Title 18, United States

 Code, Section 981(a)(l)(C), and the procedures outlined at Title 21 , United States Code, Section

 853 , as made applicable by Title 28, United States Code, Section 2461(c) .




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                                                     UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA
                                                                                 20-60109-CR-Smith/Valle
                                                                 CASE NO._ _ _ _ _ _ __ __ _ _ _ _ __
  v.
                                                                 CERTIFICATE OF TRIAL ATTORNEY*
Nader Haroun Shehata, et al.
                                                                 Superseding Case Information:
                                    Defendants.

Court Division : (Select One)                                    New defendan t(s)            Yes       No
       Miami                  Key W est                          N umber of new defend ants
 ,     FTL                    WPB                 FTP            Total number of counts

         1.         I have carefu lly considered the allegations of the indi ctment, the number of defendants, the number of
                    probabl e witnesses and the legal complexities of the Indictment/Information attached hereto.
         2.         l am aware that the information sup plied on thi s statement w ill be relied upon by the Judges of this
                    Court in setting their calendars and sched uling criminal tri als under the mandate of the Speedy Trial
                    Act, Title 28 U.S.C. Section 3 161.
         3.         Interpreter:    (Yes or No)             No
                    List language and/or dialect
         4.         This case will take _3_ days fo r the parties to try.
         5.         Pl ease check appropriate category and type of offense li sted below:

                    (Check on ly one)                                    (Check only one)


         I          0 to 5 days                         ✓                Petty
         II         6 to 10 days                                         M inor
         III        11 to 20 days                                        Misdem.
         IV         2 1 to 60 days                                       Felony               ✓

         V          61 days and over
         6.        Has th is case previously been fi led in this District Court?    (Yes or No) No
          If yes : Judge                                       Case No.
          (Attach copy of dispositive order)
                                                                          --------------
          Has a complaint been filed in this matter?            (Yes or No)      No
          If yes : Magistrate Case No.
          Related miscellaneo us numbers:
          Defendant(s) in fede ral custody as of
          Defen dant(s) in state custody as of
          Rul e 20 from the District of
             Is th is a potenti al death penalty case? (Yes or No)

             7.      Does th is case originate from a matter pending in the Central Region of the U .S. Attorney ' s Office
                     pri or to August 9, 2013 (Mag. Judge A li cia 0. Vall e)?        Yes               No ✓

             8.      Does this case originate from a matter pe nding in the No1ihern Region U.S. Attorney's Office
                     prior to A ug ust 8, 20 14 (Mag. Judge Shaniek Maynard)?                        No




 *Penalty Sheet(s) attached                                                                                       REV 8/ 13/20 18
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                      PENAL TY SHEET


 Defendant's Name: DERMA LASER CENTER, LLC.

 Case No.:    20-60109-CR-Smith/Valle
 Count# 1:

 Introduction of Misbranded Drugs and Medical Devices with Intent to Defraud
 21 U.S.C. §§ 33 l(a) and 333(a)(2)

 *Max. Penalty:   1 - 5 years ' probation; Fine of $500,000 or twice the gross gain or loss resulting
                       from the offense, whichever is greater.




 *Refers only to possible term of incarceration, does not include possible fines, restitution,
 special assessments, parole terms, or forfeitures that may be applicable.
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                       PENAL TY SHEET


 Defendant's Name: NADER HAROUN SHEHATA

  Case No.:     20-60109-CR-Smith/Valle
  Count# 2:

 Introduction of Misbranded Prescription Drugs and Medical Devices
 21 U.S .C. §§ 33 l(a) and 333(a)(l)

  *Max. Penalty:   1 Year Imprisonment; 1 Year Supervised Release; $100,000 Fine




  *Refers only to possible term of incarceration, does not include possible fines, restitution,
  special assessments, parole terms, or forfeitures that may be applicable.
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                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                               CASE NUMBER: -20-60109-CR-Smith/Valle
                                              ---------

                                         BOND RECOMMENDATION



DEFENDANT: NADER SHEHATA for DERMA LASER CENTER

                 $100 ,000 PSS
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




                                                     By:




Last Known Address:
                        -----------




What Facility:




Agent(s):               Carlos Oliveras, Border Patrol
                        (FBI) (SECRET SERVI CE) (DEA)            (IRS) (ICE) (OTHER)
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                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                               CASE NUMBER: -20-60109-CR-Smith/Valle
                                             ---------

                                         BOND RECOMMENDATION



DEFENDANT: NADER HAROUN SHEHATA

                 $100,000 PSS
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




Last Known Address:
                        -----------




What Facility:




Agent(s) :              Carlos Oliveras, Border Patrol
                        (FBI) (SECRET SERVICE) (DEA)             (IRS) (ICE) (OTHER)
  Case 0:20-cr-60109-RS Document 1 Entered on FLSD Docket 10/07/2020 Page 13 of 14


AO 455 (Rev. 0 1/09) Wai ver ofan Indictment


                                        UNITED STATES DISTRICT COURT
                                                            fo r th e
                                                 Southern Distri ct of Florida

                   United States of Ameri ca                   )
                                  V.                           )        Case No.

                                                                        20-60109-CR-Smith/Valle
              DERMA LASER CENTER, LLC                          )
                                                               )
                             Defendant                         )


                                               WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offe nses punishabl e by imprisonm ent fo r more than one
year. l was advised in open cow1 of my rights and the natu re of the pro posed charges against me.

        After receiving thi s advice, l waive my right to prosecution by indictment and consent to prosecution by
inform ation.




Date:
                                                                                          Defendant 's signature




                                                                                    Signature of defendant's allorney


                                                                                       LAWRENCE HASHISH
                                                                                   Printed name of defendant's allorney




                                                                                            Judge's signature



                                                                                      Judge's printed name and title
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AO 455 (Rev. 0 1/09) Waiver of an Indictment


                                       UNITED STATES DISTRICT COURT
                                                            for the
                                                 Southern Distri ct of F lorida

                  United States of America                     )
                                  V.                           )      Case No.
               NADER HAROUN SHEHATA                            )
                                                               )          20-60109-CR-Smith/Valle
                             Defendant                         )

                                               WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more th an one
year. I was advised in open co urt of my rights and the nature of the proposed charges against me.

        After receiving this adv ice, I waive my right to prosecution by indictment and consent to prosecution by
information.




Date: - - - - - - - -
                                                                                         Defendant's signature




                                                                                   Signature of defendant 's attorney


                                                                                      LAWRENCE HASHISH
                                                                                  Printed name of defendant 's attorney




                                                                                           Judge's signature



                                                                                     Judge's printed name and title
